 

08-cv-02417-ADS-ETB Document 110 Filed 08/09/12 Page 1 of 2 PagelD #: 5937

‘UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF SUFFOLK

 

 

 

x

ROBERT N. CAPPIELLO,
PARTIAL SATISFACTION

Plaintiff, OF JUDGMENT
-against-

ICD PUBLICATIONS, INC. and
| DAVID PALCEK, CV 08-02417 (ADS)(ETB)
Defendants.

----X

 

| WHEREAS, a judgment was entered by the Clerk of the Court in the above-

entitled action on August 20, 2010 in the District Court in and for the Eastern District of

 

New York, in favor of ROBERT N. CAPPIELLO and against ICD PUBLICATIONS,

| INC., with a principal place of business located at 45 Research Way, Setauket, New York,
for the sum of $600,510.15 which judgment was docketed in the Eastern District of New

| York on August 20, 2010 and with the Suffolk County Clerk’s Office on November 1,

| 2010, that plaintiff proceeded thereafter to levy thereon under the Laws of the State of

| New York, and said judgment has been partially satisfied and the sum of $99,058.93 with

per diem interest accruing at a rate of $24.43 per day for every day after June 28, 2012 remains
unpaid which is the subject of an appeal currently pending before United States Court of
Appeals, in and for the Second Circuit;
AND it is certified that there are no outstanding executions with any Sheriff or

Marshal within the State of New York;

THEREFORE, partial satisfaction of said judgment is hereby acknowledged, and

 
Case 2:0

 

 

 

8-cv-02417-ADS-ETB Document 110 Filed 08/09/12 Page 2 of 2 PagelD #: 5938

the said Clerks are hereby authorized and directed to make an entry of a partial
satisfaction on the docket of said judgment.

Dated: Garden City, New York
August 9, 2012

 

IELE D-DE VOE (DD0777) \

STATE OF NEW YORK)
COUNTY OF NASSAU ) ™

On the 9" day of August, in the year 2012, before me the undersigned, a Notary
Public in and for said State, personally appeared DANIELE D. DE VOE, personally
known to me and to me known to be a partner with the law offices of WEINSTEIN,
KAPLAN & COHEN, P.C., or proved to me on the basis of a satisfactory evidence to be
the individual whose name is subscribed to the within instrument and acknowledged to
me that she executed the same in her capacity, and that by her signature on the instrument,
the individual, or the person upon behalf of which the individual acted, executed the
instrument.

NOTARY PUBLIC

Kristin J. Kircheim
Notary Public, State of New York
No. 02K16241500
Qualified in Nassau County
Commission Expires May 23, 20\°5

 
